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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

    FIRST IMPRESSIONS SALON, INC.,
    ROY MATTSON, KPH HEALTHCARE
    SERVICES a/k/a KINNEY DRUGS,
    INC., PIGGLY WIGGLY MIDWEST,
    LLC, individually and on behalf of all
    others similarly situated,


                            Plaintiffs,

    v.                                                  Case No. 3:13-CV-00454-NJR

    NATIONAL MILK PRODUCERS
    FEDERATION, COOPERATIVES
    WORKING TOGETHER, DAIRY
    FARMERS OF AMERICA, INC., LAND
    O’LAKES, INC., and AGRI-MARK,
    INC. d/b/a CABOT CREAMERY
    COOPERATIVE, INC.,

                            Defendants.

                                  FINAL APPROVAL ORDER

ROSENSTENGEL, Chief Judge:

          Pending before the Court is a Motion for Final Approval of Class Settlement

(Doc. 530). For the reasons stated below, the Court GRANTS the motions.

          On November 7, 2019, the Court granted in part and denied in part Plaintiffs’

Motion for Preliminary Approval of Class Settlement (Doc. 521) and preliminarily

approved the Settlement Agreement (Doc. 525). At 1:30 p.m. on April 27, 2020, the Court

held a Final Fairness Hearing. 1 The Court has read and considered all submissions made



1   Due to the ongoing novel corona virus pandemic the final fairness hearing was held via teleconference.

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in connection with the Settlement Agreement, including statements and arguments made

at the Final Fairness hearing.

       IT IS HEREBY ORDERED AND ADJUDGED as follows:

   1. The definitions of terms set forth in the Settlement Agreement are incorporated

       here.

   2. The Court has jurisdiction over the subject matter of the Action and over all parties

       to the Settlement Agreement, including all Class Members.

   3. As provided in the Preliminary Approval Order, this Court has previously

       certified the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure

       (Doc. 291). The certified Class is made up of two sub-classes and consists of the

       following:

               All persons and entities in the United States that purchased
               butter directly from one or more members of Defendant,
               Cooperatives Working Together, and/or their subsidiaries
               during the period from December 6, 2008 to July 31, 2013 who
               did not timely opt-out of the class pursuant to the class notice
               approved by the Court in its order dated May 8, 2018 and
               transmitted to the class on May 31, 2018; and

               All persons and entities in the United States that purchased
               cheese directly from one or more members of Defendant,
               Cooperatives Working Together, and/or their subsidiaries
               during the period from December 6, 2008 to July 31, 2013 who
               did not timely opt-out of the class pursuant to the class notice
               approved by the Court in its order dated May 8, 2018 and
               transmitted to the class on May 31, 2018.

   4. This Court previously approved the Class Notice Plan for giving notice to the Class

       through direct mailed notice, social media, publication notice, and through the

       previously established website, www.butterandcheeseclassaction.com. Through

       its Preliminary Approval Order, this Court directed the Parties and the court-

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      appointed Settlement Administrator, Epiq Class Action & Claims Solutions, Inc.

      (“Epiq”), to complete all aspects of the Notice Plan. The Court finds that the Notice

      given to the Class Members was completed as approved by this Court and

      complied in all respects with the requirements of Rule 23 of the Federal Rules of

      Civil Procedure and due process. The settlement Notice Plan was modeled on and

      supplements the previous court-approved plan and, having been completed,

      constitutes the best notice practicable under the circumstances. In making this

      determination, the Court finds that the Notice provided Class members due and

      adequate notice of the Settlement, the Settlement Agreement, the Plan of

      Distribution, these proceedings, and the rights of Class members to opt-out of the

      Class and/or object to Final Approval of the Settlement, as well as Plaintiffs’

      Motion requesting attorney fees, costs, and Class Representative service awards.

      The Court also finds the parties have satisfied all requirements set forth in the

      Preliminary Approval Order.

   5. On February 26, 2020, Plaintiffs timely filed a motion requesting Final Approval

      of the Settlement and a motion for attorney fees, reimbursement of costs, and

      service awards for the Class Representatives (Docs. 530, 531).

   6. On March 18, 2020, the Parties executed addenda to the Settlement Agreement,

      which were filed with the Court on March 25, 2020 (Docs. 536, 536-1 to 536-4).

      Three addenda are administrative in nature, and one such addendum (536-1)

      provides an additional benefit to the Class members. This addendum provides

      that instead of receiving installment payments from the settlement fund (the last

      of which would be due in 2024 or later), full payment of the entirety of the

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      settlement proceeds will be made by no later than January 2021. The Court finds

      the Addenda 1-4 do not materially change the settlement, and they provide

      additional benefit to the Class. Therefore, no additional notice is necessary or

      required to be given to the Class.

   7. Approval of Settlement. The Settlement Agreement was made with consideration

      of the substantial additional costs, delays, and risks faced by all parties if litigation

      were to continue. The Settlement Agreement is a good compromised result for the

      Parties following good faith and lengthy arms-length negotiation between

      experienced and informed counsel well-versed in class actions. No objections to

      the agreement were made by Class Members; this fact also supports approval of

      the settlement. Further, this litigation has been ongoing for almost seven years.

      The process of approving the proposed settlement has been ongoing since Fall

      2019, and the parties and the Court are aware of the magnitude of the case and the

      positions of the parties. At this stage, the Court and the parties possess ample

      information with which to evaluate the merits of the competing positions, and this

      fact also warrants approval of the Settlement Agreement. This Court fully and

      finally APPROVES the Settlement in the form contemplated by the Settlement

      Agreement, and the addenda thereto, and finds the Settlement Agreement to be

      fair, reasonable and adequate within the meaning of Rule 23 of the Federal Rules

      of Civil Procedure and Seventh Circuit jurisprudence on class action settlements.

      The Court directs the full implementation of the Settlement pursuant to the terms

      and conditions of the Settlement Agreement and the addenda thereto. (Docs. 521-

      1, 536-1 to 536-4).

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   8. Approval of Plan of Distribution. In its January 10, 2020 Preliminary Approval

      Order, the Court approved the Plan of Distribution to allocate the Settlement

      funds, as it complies in all respects with the requirements of Rule 23 of the Federal

      Rules of Civil Procedure.

   9. No Admission of Liability. In accordance with paragraph seventeen of this

      Court’s Preliminary Approval Order, Final Approval of this Settlement will not be

      deemed or construed to be a concession or admission of any violation of any

      statute, law, rule, regulation, or principle of common law or equity, or of any

      liability or wrongdoing by Defendants, or the truth of any of the allegations in the

      action.

   10. Binding Effect. The Settlement resolves this action, including all claims alleged in

      the Third Amended Complaint (Doc. 182), and releases all claims as set forth in

      the Settlement Agreement. Due and adequate notice of the proceedings having

      been given to the Class and a full opportunity having been offered to the Class to

      participate in the April 27, 2020 Final Fairness Hearing before this Court, it is

      hereby determined that all Class members are bound by this Order and Final

      Judgment.

   11. Settlement Administration. Counsel for the Parties and the Settlement

      Administrator, Epiq, are authorized to use all reasonable procedures that are not

      materially inconsistent with this Final Approval Order or the Settlement

      Agreement to carry out all remaining aspects of the administration of this

      Settlement.

   12. Jurisdiction. Without affecting the finality of this Judgment in any way, this Court

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      hereby retains continuing and exclusive jurisdiction over: (a) interpretation,

      administration, enforcement, and implementation of this settlement and

      distribution to Class Members; (b) disposition of the Settlement Fund; (c) this

      Action until the final judgment contemplated hereby has become effective and

      each and every act agreed to be performed by the parties have all been performed

      pursuant to the Settlement Agreement; (d) hearing and ruling on any matters

      relating to the plan of allocation of settlement proceeds; and (e) all parties to this

      Action and released claimants or class members, for the purpose of enforcing and

      administering the Settlement Agreement and the mutual releases and other

      documents contemplated by, or executed in connection with the Settlement

      Agreement.

   13. This is a final and appealable Order and Judgment, and there is no just reason for

      delay in the entry of this Judgment, as a Final Judgment.

   14. Pursuant to the Settlement Agreement, all persons and entities who are releasors,

      Plaintiffs and members of the class, are hereby barred and enjoined from

      commencing, prosecuting or continuing, either directly or indirectly, against the

      Releasees, in this or any other jurisdiction, any and all claims, causes of action, or

      lawsuits, which they had, have, or in the future may have, arising out of or related

      to any of the Released Claims as defined in the Settlement Agreement.

   15. The Releasees are hereby and forever released and discharged with respect to any

      and all claims and causes of action which the Releasors had or have arising out of

      or related to any of the Released Claims as defined by the Settlement Agreement.



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                                      CONCLUSION

      Accordingly, the Court GRANTS Plaintiffs’ Motion for Final Approval of the

Class Settlement (Doc. 530). This action and all released claims asserted in it are

DISMISSED with prejudice. Each party will bear its own costs and attorney fees except

as otherwise described in the Settlement Agreement and the Order Granting Attorney

Fees (Doc. 540). The Parties are DIRECTED to take the necessary steps to effectuate the

terms of the Settlement Agreement.

      IT IS SO ORDERED.

      DATED: April 27, 2020


                                              ____________________________
                                              NANCY J. ROSENSTENGEL
                                              Chief U.S. District Judge




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